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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                          STATESBORO DIVISION



LAWRENCE M. DRAYTON,

       Movant,

v.                                            Case No. CV615-036
                                                        CR612-018
UNITED STATES OF AMERICA


     Respondent.

                                      ORDER


       After a careful de novo review of the record in this case, the Court concurs with

the Magistrate Judge's Report and Recommendation, to which objections have been

filed. Accordingly, the Report and Recommendation of the Magistrate Judge is adopted

as the opinion of the Court.

       SO ORDERED this /^dav of ^^fys**-                      2016.


                                        J. RATNTDAL
                                        UNITED STATES DISTRICT JUDGE
                                              TCERN DISTRICT OF GEORGIA
